                                    UNITED
           Case: 4:17-cr-00052-HEA-JMB     STATES
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                                                    Filed: 08/14/17
                                                       EASTERN DISTRICT OF MISSOURI

                                                       Courtroom Minute Sheet B Criminal Case

Date     8/14/17                       Judge     John M. Bodenhausen - 15S                          Case No.       4:17cr52 HEA/JMB

UNITED STATES OF AMERICA v.                          Matthew Burkett

Deputy Clerk:            C. Ritter                                                        Court Recorder:       FTR

Assistant United States Attorney:

Attorney for Defendant:                 Kevin Curran

Interpreter                                                                                                        SEALED PROCEEDING
Proceedings:
      Initial Appearance                                               Pretrial Motion Status Hearing                    Change of Plea/Sentencing
____ Initial Appearance Supervised Release                             Motion Hearing                                    Competency Hearing
      Rule 5(c)(3)Removal (Identity)                                   Evidentiary Hearing                               Pretrial/Status Conference
      Detention Hearing                                                Oral Argument/Non Evidentiary Hearing
      Preliminary Examination                                          Preliminary Revocation
      Bond Execution/Appearance Bond                                            Supervised Release
  X Bond Review                                                                 Probation
      Arraignment

Additional Information: After securing a viable home plan, Defendant is released on his existing conditions of bond. The Court
reviewed the bond conditions with Defendant.

_______
Initial Appearance:
Bond set in the amount of: $                                                            Bond Type

Preliminary Exam/Detention Hearing scheduled:                                              @                             Before: SPM

Detention Hearing only scheduled:                                                          @                             Before SPM

Arraignment Scheduled:                                                                    @                             Before

Preliminary Revocation Hearing:
Final Supervised Release or Probation Revocation Hearing Scheduled:                                         @                          Before

Arraignment:
            Defendant is sworn and arraigned

            Waives reading of indictment/information

            Not guilty plea entered.    Order on pretrial motions to issue.

            Oral Motion for Extension of Time to File Pretrial Motions (GRANTED).
           IT IS HEREBY ORDERED that the time granted to defendant to investigate and prepare pretrial motions or a waiver thereof is excluded from
           computation of the time for speedy trial.

All Pretrial Motions/ Waiver of Motions due no later than                      .

Evidentiary Hearing is set for: _______________________________@__________________                   Before: SPM

Evidentiary Hearing:
          Defendant waives evidentiary hearing. ** Case referral termed

          By leave of court defendant withdraws all pretrial motions and waives evidentiary hearing. .**Case referral termed.

          Hearing held. Testimony heard. Motions taken under submission.

Trial Scheduled:                                                                                                          Before

                               Remanded to custody          X        Released on bond

Proceeding commenced       9:27 am              Proceeding concluded          9:35 am
